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 5
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 6   MELANIE DELAPAZ
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     MELANIE DELAPAZ,                          Case No.:
11
                 Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR
           vs.                                 VIOLATION OF:
13
                                               1. AMERICANS WITH DISABILITIES
14   SKM GROUP D/B/A CHEVRON                   ACT, 42 U.S.C. §12131 et seq.;
15   #381735; ARMON, INC.; and DOES 1 to       2. CALIFORNIA’S UNRUH CIVIL
     10,                                       RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                             52 et seq.;
                 Defendants.
17                                             3. CALIFORNIA’S DISABLED
                                               PERSONS ACT, CAL CIV. CODE §54 et
18                                             seq.
19                                             4. CALIFORNIA’S UNFAIR
                                               COMPETITION ACT, CAL BUS & PROF
20                                             CODE § 17200, et seq.
21                                             5. NEGLIGENCE
22
23
24
25
26         Plaintiff MELANIE DELAPAZ (“Plaintiff”) complains of Defendants SKM
27   GROUP D/B/A CHEVRON #381735; ARMON, INC.; and DOES 1 to 10
28   (“Defendants”) and alleges as follows:



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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 9   reside in this district, Orange County, California.
10                                            PARTIES
11         4.     Plaintiff is a California resident with a physical disability with substantial
12   limitations in her ability to walk. Plaintiff suffers from hemiplegia on her left leg and
13   spinal cord injury and requires the use of a wheelchair at all times when traveling in
14   public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for CHEVRON
17   (“Business”) located at or about 22802 S. Figueroa St., Carson, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     In or about December of 2021, Plaintiff went to the Business. In or about
 9   January of 2022, Plaintiff revisited the Business. The Business is a gas station and
10   convenience store business establishment, which is open to the public, and is a place of
11   public accommodation and affects commerce through its operation. Defendants provide
12   parking spaces for customers.
13         10.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with her ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business. To the extent
16   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17   limited to, the following:
18                a.     Defendant failed to maintain the parking space designated for persons
19                       with disabilities to comply with the federal and state standards.
20                       Defendants failed to provide the access aisles with level surface
21                       slopes.
22                b.     Defendant failed to maintain the parking space designated for persons
23                       with disabilities to comply with the federal and state standards.
24                       Defendants failed to maintain the paint on the ground as required.
25                c.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to mark the space with the International
28                       Symbol of Accessibility.



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 1         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
 3   from visiting the Business because her knowledge of these violations prevents her from
 4   returning until the barriers are removed.
 5         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 6   there are additional barriers to accessibility at the Business after further site inspection.
 7   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 8   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
10   knew that particular barriers render the Business inaccessible, violate state and federal
11   law, and interfere with access for the physically disabled.
12         14.    At all relevant times, Defendants had and still have control and dominion
13   over the conditions at this location and had and still have the financial resources to
14   remove these barriers without much difficulty or expenses to make the Business
15   accessible to the physically disabled in compliance with ADDAG and Title 24
16   regulations. Defendants have not removed such barriers and have not modified the
17   Business to conform to accessibility regulations.
18                                   FIRST CAUSE OF ACTION
19       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20         15.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23   shall be discriminated against on the basis of disability in the full and equal enjoyment of
24   the goods, services, facilities, privileges, advantages, or accommodations of any place of
25   public accommodation by any person who owns, leases, or leases to, or operates a place
26   of public accommodation. See 42 U.S.C. § 12182(a).
27         17.    Discrimination, inter alia, includes:
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 1          a.    A failure to make reasonable modification in policies, practices, or
 2                procedures, when such modifications are necessary to afford such
 3                goods, services, facilities, privileges, advantages, or accommodations
 4                to individuals with disabilities, unless the entity can demonstrate that
 5                making such modifications would fundamentally alter the nature of
 6                such goods, services, facilities, privileges, advantages, or
 7                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8          b.    A failure to take such steps as may be necessary to ensure that no
 9                individual with a disability is excluded, denied services, segregated or
10                otherwise treated differently than other individuals because of the
11                absence of auxiliary aids and services, unless the entity can
12                demonstrate that taking such steps would fundamentally alter the
13                nature of the good, service, facility, privilege, advantage, or
14                accommodation being offered or would result in an undue burden. 42
15                U.S.C. § 12182(b)(2)(A)(iii).
16          c.    A failure to remove architectural barriers, and communication barriers
17                that are structural in nature, in existing facilities, and transportation
18                barriers in existing vehicles and rail passenger cars used by an
19                establishment for transporting individuals (not including barriers that
20                can only be removed through the retrofitting of vehicles or rail
21                passenger cars by the installation of a hydraulic or other lift), where
22                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23          d.    A failure to make alterations in such a manner that, to the maximum
24                extent feasible, the altered portions of the facility are readily
25                accessible to and usable by individuals with disabilities, including
26                individuals who use wheelchairs or to ensure that, to the maximum
27                extent feasible, the path of travel to the altered area and the
28                bathrooms, telephones, and drinking fountains serving the altered



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 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         18.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         19.    Under the 1991 Standards, parking spaces and access aisles must be level
13   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
14   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
15   shall be part of an accessible route to the building or facility entrance and shall comply
16   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
17   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
18   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
19   directions. 1991 Standards § 4.6.3.
20         20.    Here, the access aisles are not level with the parking spaces. Under the 2010
21   Standards, access aisles shall be at the same level as the parking spaces they serve.
22   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
23   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
24   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
25   Standards § 502.4. Here, the failure to provide level parking is a violation of the law.
26         21.    For the parking spaces, access aisles shall be marked with a blue painted
27   borderline around their perimeter. The area within the blue borderlines shall be marked
28   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting



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 1   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 2   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 3   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 4   11B-502.3.3.
 5         22.    Here, Defendants failed to properly maintain the access aisles as there were
 6   no “NO PARKING” and faded blue lines painted on the parking surface.
 7         26.    The surface of each accessible car and van space shall have surface
 8   identification complying with either of the following options: The outline of a profile
 9   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
10   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
11   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
12   length of the parking space and its lower side or corner aligned with the end of the
13   parking space length or by outlining or painting the parking space in blue and outlining
14   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
15   occupant. See CBC § 11B-502.6.4, et seq.
16         27.    Here, Defendants failed to mark the surface with the International Symbol of
17   Accessibility as required.
18         28.    A public accommodation shall maintain in operable working condition those
19   features of facilities and equipment that are required to be readily accessible to and usable
20   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
21   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
22   violation of Plaintiff’s rights under the ADA and its related regulations.
23         29.    The Business has denied and continues to deny full and equal access to
24   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
25   discriminated against due to the lack of accessible facilities, and therefore, seeks
26   injunctive relief to alter facilities to make such facilities readily accessible to and usable
27   by individuals with disabilities.
28   //



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 1                                 SECOND CAUSE OF ACTION
 2                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3         30.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7   national origin, disability, medical condition, genetic information, marital status, sexual
 8   orientation, citizenship, primary language, or immigration status are entitled to the full
 9   and equal accommodations, advantages, facilities, privileges, or services in all business
10   establishments of every kind whatsoever.”
11         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13   for each and every offense for the actual damages, and any amount that may be
14   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16   attorney’s fees that may be determined by the court in addition thereto, suffered by any
17   person denied the rights provided in Section 51, 51.5, or 51.6.
18         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
19   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20   shall also constitute a violation of this section.”
21         34.    The actions and omissions of Defendants alleged herein constitute a denial
22   of full and equal accommodation, advantages, facilities, privileges, or services by
23   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25   51 and 52.
26         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28   damages as specified in California Civil Code §55.56(a)-(c).



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 1                                 THIRD CAUSE OF ACTION
 2               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3         36.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6   entitled to full and equal access, as other members of the general public, to
 7   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12   places of public accommodations, amusement, or resort, and other places in which the
13   general public is invited, subject only to the conditions and limitations established by
14   law, or state or federal regulation, and applicable alike to all persons.
15         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16   corporation who denies or interferes with admittance to or enjoyment of public facilities
17   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19   the actual damages, and any amount as may be determined by a jury, or a court sitting
20   without a jury, up to a maximum of three times the amount of actual damages but in no
21   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22   determined by the court in addition thereto, suffered by any person denied the rights
23   provided in Section 54, 54.1, and 54.2.
24         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
25   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26   constitute a violation of this section, and nothing in this section shall be construed to limit
27   the access of any person in violation of that act.
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 1          40.   The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, and facilities by physically disabled
 3   persons within the meaning of California Civil Code § 54. Defendants have
 4   discriminated against Plaintiff in violation of California Civil Code § 54.
 5          41.   The violations of the California Disabled Persons Act caused Plaintiff to
 6   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7   statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                FOURTH CAUSE OF ACTION
 9                                UNFAIR COMPETITION ACT
10          42.   Plaintiff incorporates by reference each of the allegations in all prior
11   paragraphs in this complaint.
12          43.   Defendants have engaged in unfair competition, unfair or fraudulent
13   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
14   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
15          44.   Defendants engage in business practices and policies that create systemic
16   barriers to full and equal access for people with disability in violation of state and federal
17   law.
18          45.   The actions and omissions of Defendants are unfair and injurious to
19   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
20   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
21   provided with goods and services provided to other consumers. Plaintiff seeks relief
22   necessary to prevent Defendants’ continued unfair business practices and policies and
23   restitution of any month that Defendants acquired by means of such unfair competition,
24   including profits unfairly obtained.
25                                   FIFTH CAUSE OF ACTION
26                                          NEGLIGENCE
27          46.   Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1           47.   Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4           48.   Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6           49.   As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11           1.    For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13           2.    Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15           3.    Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17           4.    Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19           5.    Prejudgment interest pursuant to California Civil Code § 3291; and
20           6.    Such other and further relief as the Court deems just and proper.
21   //
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                                   COMPLAINT FOR DAMAGES - 11
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: February 25, 2022                       SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                           By:   _/s/ Jason J. Kim_____________
                                                   Jason J. Kim, Esq.
 9                                           Attorneys for Plaintiff
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                                   COMPLAINT FOR DAMAGES - 12
